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                              UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA

                                      CIVIL JURY MINUTES

Date: January 28, 2019               Time: 3 hours 22 minutes    Judge: VINCE CHHABRIA
Case No.: 16-md-02741-VC             Case Name: In re Roundup Products Liability Litigation v.



Attorney for Plaintiff: Aimee Wagstaff
Attorney for Defendant: Erik Lasker, Tamarra Matthews Johnson, Rakesh Kilaru, Michael
Imbroscio, and Brian Stekloff

Deputy Clerk: Kristen Melen                            Court Reporter: Marla Knox and Jo Ann
                                                       Bryce
Further Daubert Proceedings: February 4, 2019

                                           PROCEEDINGS:

Daubert Hearing - Day 1, held.

                                     RULINGS AND ORDERS:

See Log for details from proceedings.




DISPOSITION OF EXHIBITS: See Lot for details.
